Case 9:23-cr-80101-AMC Document 625 Entered on FLSD Docket 06/17/2024 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

   UNITED STATES OF AMERICA,

   vs.                                            Case No. 23-80101-CR
                                                  CANNON/REINHART
   DONALD J. TRUMP, et al.,

                 Defendants.



                                      NOTICE OF FILING

         Pursuant to the Court’s Order setting pre-trial deadlines, ECF No. 530, on June 14, 2024,

  President Donald J. Trump filed his First Notice Pursuant to CIPA § 5(a) with the Court by

  providing it to the Classified Information Security Officer in Fort Pierce, Florida.        The

  accompanying unclassified cover sheet for President Trump’s Notice is attached hereto.

   Dated: June 17, 2024                         Respectfully submitted,

                                                /s/ Todd Blanche / Emil Bove
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Case 9:23-cr-80101-AMC Document 625 Entered on FLSD Docket 06/17/2024 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I, Christopher M. Kise, certify that on June 17, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF.

                                                     /s/ Christopher M. Kise
                                                     Christopher M. Kise




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